The Teche Lines, Inc., availing itself of the provisions of Section 5 of Article VI of the Constitution of 1921, instituted these proceedings to have the court review order No. 2168 of the Louisiana Public Service Commission issued on March 27, *Page 606 
1939, under which the Bordelon Lines, Inc., was given permission (1) to buy the certificates of A.V. Morse under which he had been operating motor coaches from Cottonport to New Orleans, (2) to extend its own route from Marksville to Alexandria, (3) to establish a new route from Longbridge to Cottonport, (4) to operate between Opelousas and Erwinville a route connecting with that operated by Morse, and (5) clarifying restrictions in the certificate of Bordelon Lines, Inc., with reference to its operations between Baton Rouge and New Orleans. Bordelon Lines, Inc., was joined as a party defendant and the plaintiff is here appealing from the adverse ruling of the lower court.
The defendants are reurging the exceptions filed in the lower court to its jurisdiction rationae materiae and of no right of action which were overruled by the trial judge, whose decision in favor of the defendants-appellees was based on the merits. These two exceptions are predicated on the same fact, that is, that the plaintiff failed to file its suit or appeal from the order of the commission within 90 days after the date thereof, as provided by Section 5 of Article VI of the Constitution of 1921.
Article VI of the Constitution of 1921, under the heading "Administrative Officers and Boards," created the Louisiana Public Service Commission (Section 3) and gave it full control over all common carriers and public utilities in the state of Louisiana, except as otherwise therein provided, clothing it with the power to adopt and enforce such rules and regulations *Page 607 
and modes of procedure as it might deem fit for the proper discharge of its duties, the right being reserved to any party in interest to appeal "from orders and decrees of the Commission to the courts by filing suit, within ninety days from the date ofthe Commission's order, and not thereafter, against the Commission at its domicile." Section 5. (Italics ours.)
The contention of the appellant with respect to these two exceptions is the same as that advanced in the lower court and upheld by the trial judge, that is, that since the Commission, under the express authority of the constitution, had the right to adopt its own rules of procedure, "as binding as if incorporated in a statute," it could not escape its rule declaring appeals from its orders must be made within 90 days from the date on which the application for a rehearing was denied.
It is our opinion that the Commission, under its limited rule making power, was powerless to draft any rule inconsistent with the clear and positive declaration in the Constitution of 1921 limiting the time within which appeals might be taken to the courts from orders and decrees of the Commission to 90 days from the date of the order, and not thereafter, much less a rule extending the time beyond this express constitutional limitation. This conclusion is fortified by the fact that this fixing of the prescribed time for appealing to the courts was the deliberate action of the drafters of the Constitution of 1921, for that provision is not to be found in any of the previous constitutions. *Page 608 
Consequently, the court was without jurisdiction to entertain the plaintiff's complaints with respect to Order No. 2168 of the Louisiana Public Service Commission, the same having been filed more than 90 days after the date of the order.
For the reasons assigned, the judgment of the lower court dismissing plaintiff's suit is affirmed at its cost.
ODOM, J., absent.
                    On Motion for Rehearing.
Rehearing denied.
ROGERS, J., dissenting.